  Case 2:21-cv-02693-JAK-MAR Document 9 Filed 07/02/21 Page 1 of 1 Page ID #:106

                                    UNITED STATES DISTRICT COURT
                                   CENTRAL DISTRICT OF CALIFORNIA


                                      CIVIL MINUTES – GENERAL

 Case No.     LA CV21-02693 JAK (MARx)                                          Date        July 2, 2021
 Title        Jeremy Holland v. Bracha Ve Hatzlacha LLC




 Present: The Honorable            JOHN A. KRONSTADT, UNITED STATES DISTRICT JUDGE

                    T. Jackson                                               Not Reported
                   Deputy Clerk                                      Court Reporter / Recorder
          Attorneys Present for Plaintiffs:                      Attorneys Present for Defendants:
                     Not Present                                              Not Present


 Proceedings:            (IN CHAMBERS) ORDER TO SHOW CAUSE RE DISMISSAL FOR LACK
                         OF PROSECUTION RE DEFENDANT BRACHA VE HATZLACHA LLC.

The Court, on its own motion, orders Plaintiff to show cause in writing no later than July 9, 2021, why
this action should not be dismissed for lack of prosecution. In the absence of showing good cause, an
action shall be dismissed if the summons and complaint have not been served within 90 days after the
filing of the complaint pursuant to Fed. R. Civ. P. 4(m). In light of the filing date of March 29, 2021,
proof(s) of service were due by June 29, 2021. An action may also be dismissed prior to such time if
the Plaintiff fails diligently to prosecute the action. The Order to Show Cause will stand submitted upon
the filing of an appropriate response. No oral argument will be heard unless otherwise ordered by the
Court. Plaintiff is advised that the Court will consider the filing of a responsive pleading to the complaint
and/or proof(s) of service, which indicates proper service in full compliance with the federal rules, on or
before the date upon which the response is due, as a satisfactory response to the Order to Show
Cause.

IT IS SO ORDERED.


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                                                             Initials of Preparer      TJ




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